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                               UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF NEW YORK


 MINDEN PICTURES, INC.,

                            Plaintiff,

                  v.                                       Case No.:

 NIAGARA FALLS REPORTER, INC.,
 and DOES 1-10,

                           Defendants.




                                     COMPLAINT AND JURY DEMAND

             Plaintiff, Minden Pictures Inc., (“Plaintiff”), by its undersigned attorneys, Rath,

 Young and Pignatelli, PC, for its complaint alleges as follows:

                                         SUBSTANCE OF THE ACTION

             1.        This is a case of willful copyright infringement in violation of 17 U.S.C.

 §§ 106(1), 501, and 1202.

             2.    Plaintiff seeks compensatory and statutory damages in an amount to be established

 at trial.

                                                   PARTIES

         3.            Plaintiff Minden Pictures Inc. is a California Corporation with a principal place

of business at 9565 Soquel Drive, Suite 202, Aptos, California, 95003.

             4.        Upon information and belief, defendant Niagara Falls Reporter, Inc. (“NFR

 Defendant”) is a corporation duly organized and existing under the laws of New York, with a
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 principal place of business at 209 Sweet Briar Road, Tonawanda, New York 14150.

         5.      Defendants Does 1 through 10 (“Doe Defendants” and together with NFR

 Defendant, collectively, “Defendants”) are currently unknown to Plaintiff and, as such, are

 identified in this action with fictitious names. Upon information and belief, each of the Doe

 Defendants are legally responsible at least in part for the events and actions constituting the

 conduct damaging Plaintiff. Plaintiff will seek leave of Court to amend this complaint to

 identify and include the actual names and capacities of the Doe Defendants after Plaintiff

 obtains such information.

                                 JURISDICTION AND VENUE

         6.      This is a civil action seeking damages and injunctive relief for copyright

 infringement under the copyright laws of the United States, and therefore this Court has

 jurisdiction under 17 U.S.C. § 101 et seq.; 28 U.S.C. § 1331 (federal question jurisdiction), and

 28 U.S.C. § 1338 (jurisdiction over copyright actions).

         7.      Personal jurisdiction over Defendants is proper. Defendants are conducting

 business in this judicial district and committing torts in this state, including without limitation

 copyright infringement which causes harm in this state and judicial district.

         8.      Pursuant to 28 U.S.C. § 1391, venue properly lies in this Court because a

 substantial part of the events giving rise to the claims herein occurred in this judicial district.

                      FACTS COMMON TO ALL CLAIMS FOR RELIEF

 A.      Plaintiff’s Business

         9.      Plaintiff is recognized as the premier provider of rights managed wildlife and

nature stock photos and feature stories, with a collection that covers key aspects of natural history,

ecology, biodiversity and endangered species from all continents including many remote and

isolated regions. Its photographic works represent the finest images by an award-winning group

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of natural history photographers including many regular contributors to National Geographic and

are represented in collections by Nature Picture Library, National Geographic, Frank Lane Picture

Agency, Nature in Stock, Buiten-beeld, Biosphoto, Birdimagency, Auscape, Hedgehog House,

San Diego Zoo and Amana.

         10.    Plaintiff licenses its works for professional applications including editorial,

advertising, corporate and non-profit use.

         11.    Plaintiff is the exclusive licensee of iconic photographic image attached hereto

 as Exhibit A (the “Copyrighted Work”).

         12.    The Copyrighted Work is an original work of authorship created by Luciano

 Candisani.

         13.    Plaintiff is the exclusive licensee of the copyrights in and to the Copyrighted

 Work.

         14.    On January 23, 2009, on behalf of Mr. Candisani, Plaintiff obtained a registration

 with the United States Copyright Office for the photographic work entitled Luciano Candisani

 2008 Photo Collection on Minden Pictures Website. Attached hereto as Exhibit B is a copy of

 the certificate for Registration Number VA 1-716-010 obtained from the United States

 Copyright Office by Plaintiff.

 B.      Defendants’ Unlawful Activities

       15.      Plaintiff has discovered NFR Defendant is, and has been, infringing Plaintiff’s

exclusive copyrights in the Copyrighted Work.

       16.      Specifically, Plaintiff discovered the Copyrighted Work being reproduced,

distributed, and publicly displayed at websites located on the internet (herein after the

“Infringing Websites”), screenshots of which are attached hereto as Exhibit C.


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        17.       Upon information and belief, the infringing websites are owned or operated

by NFR Defendant.

        18.       Upon information and belief, NFR Defendant located the Copyrighted Work

on the internet and, without authorization from Plaintiff, first downloaded the Copyrighted

Work to its computer system and then uploaded the Copyrighted Work to the Infringing

Websites, thus unlawfully reproducing and distributing the Copyrighted Work, where the

Copyrighted Work was then publicly displayed without Plaintiff’s permission.

        19.       Upon information and belief, NFR Defendant is responsible for the unlawful

reproduction, distribution, and public display of the Copyrighted Work.

        20.       NFR Defendant’s reproduction, distribution, and public display of Plaintiff’s

Copyrighted Work are without Plaintiff’s authorization.

        21.       NFR Defendant’s unauthorized reproduction, distribution, and public display

of Plaintiff’s Copyrighted Work are knowing and willful and in reckless disregard of

Plaintiff’s rights.

                                    FIRST CLAIM FOR RELIEF
                                DIRECT COPYRIGHT INFRINGEMENT
                                      (17 U.S.C. § 101 et seq.)

        22.       Plaintiff realleges the paragraphs above and incorporates them by reference

as if fully set forth herein.

        23.       The Copyrighted Work is an original work of authorship, embodying

copyrightable subject matter, subject to the full protection of the United States copyright

laws.

        24.       As exclusive licensee, Plaintiff has sufficient rights, title and interest in and to

the copyrights in the Copyrighted Work to bring suit.

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       25.       Upon information and belief, as a result of Plaintiff’s reproduction,

distribution and public display of the Copyrighted Work, NFR Defendant had access to the

Copyrighted Work prior to the creation of NFR Defendant’s infringement.

       26.       Upon information and belief, NFR Defendant reproduced, distributed, and

publicly displayed the Copyrighted Work at its websites without authorization from Plaintiff.

       27.       By its actions, as alleged above, NFR Defendant has infringed and violated

Plaintiff’s exclusive rights in violation of the Copyright Act, 17 U.S.C. §501, by reproducing,

distributing and publicly displaying the Copyrighted Work at its websites.

       28.       Upon information and belief, NFR Defendant’s infringement of Plaintiff’s

copyrights is willful and deliberate and it has profited at the expense of Plaintiff.

       29.       As a direct and proximate result of NFR Defendant’s infringement of

Plaintiff’s copyrights and exclusive rights in the Copyrighted Work, Plaintiff is entitled to

recover its actual damages resulting from NFR Defendant’s use of the Copyrighted Work

without paying license fees, in an amount to be proven at trial.

       30.       At Plaintiff’s election, pursuant to 17 U.S.C. § 504(b), Plaintiff shall be

entitled to recover damages based on a disgorgement of NFR Defendant’s profits from

infringement of the Copyrighted Work, which amounts will be proven at trial.

       31.       In the alternative, and at Plaintiff’s election, Plaintiff is entitled to maximum

statutory damages, pursuant to 17 U.S.C. § 504(c), in the amount of $150,000 with respect to

the infringing reproduction, distribution, and public display of the Copyrighted Work by NFR

Defendant, or such other amounts as may be proper under 17 U.S.C. § 504(c).

       32.       Plaintiff is entitled to its costs, including reasonable attorneys’ fees, pursuant

to 17 U.S.C. § 505.

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        33.       NFR Defendant’s conduct has caused and any continued infringing conduct

will continue to cause irreparable injury to Plaintiff unless enjoined by this Court. Plaintiff

has no adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a

permanent injunction prohibiting infringement of Plaintiff’s exclusive rights under copyright

law.

                                   SECOND CLAIM FOR RELIEF
                                (Contributory Copyright Infringement)

        34.       Plaintiff realleges the above paragraphs and incorporates them by reference

as if fully set forth herein.

        35.       As an alternative theory to its direct infringement claim, in event any of the

Defendants contend the infringing conduct described above is done by another, Defendants

each had either actual or constructive knowledge of the above-described infringements and

either induced, caused or materially contributed to the infringing conduct described above.

        36.       By their actions, as alleged above, each of the Defendants’ foregoing acts of

contributory infringement violate Plaintiff’s exclusive rights in violation of the Copyright

Act, 17 U.S.C. §501.

        37.       Upon information and belief, the foregoing acts of contributory infringement

of Plaintiff’s copyrights are willful and deliberate and Defendants have each profited at the

expense of Plaintiff.

        38.       As a direct and proximate result of Defendant’s contributory infringement of

Plaintiff’s copyrights and exclusive rights in the Copyrighted Work, Plaintiff is entitled to

recover its actual damages resulting from Defendants’ uses of the Copyrighted Work without

paying license fees, in an amount to be proven at trial.

        39.       In addition, at Plaintiff’s election, pursuant to 17 U.S.C. § 504(b), Plaintiff
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shall be entitled to recover damages based on a disgorgement of Defendants’ profits from

infringement of the Copyrighted Work, which amounts will be proven at trial.

       40.        In the alternative, and at Plaintiff’s election, Plaintiff is entitled to maximum

statutory damages, pursuant to 17 U.S.C. § 504(c), in the amount of $150,000 with respect to

the infringing reproduction, distribution, and public display of the Copyrighted Work, or such

other amounts as may be proper under 17 U.S.C. § 504(c).

       41.       Plaintiff is entitled to its costs, including reasonable attorneys’ fees, pursuant

to 17 U.S.C. § 505.

       42.       Defendants’ conduct has caused and any continued infringing conduct will

continue to cause irreparable injury to Plaintiff unless enjoined by this Court. Plaintiff has no

adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent

injunction prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

                               THIRD CLAIM FOR RELIEF
                             (Vicarious Copyright Infringement)

       43.       Plaintiff realleges the above paragraphs and incorporates them by reference as if

 fully set forth herein.

       44.       As an alternative theory to its infringement claims above, to the extent any of the

 Defendants contend they did not directly infringe or contributorily infringe Plaintiff’s

 copyrights, Defendants each had the right or ability to supervise the direct infringement

 described above.

       45.       As a result of each Defendants right or ability to supervise the direct

 infringement described above, Defendants could have prevented or stopped the direct

 infringement but did not take any action to do so.

       46.       Defendants each had a direct financial interest the reproduction, distribution and

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public display of the Copyrighted Work and each Defendant benefitted from the direct

infringement.

      47.       As a direct and proximate result of Defendants’ vicarious infringement of

Plaintiff’s copyrights and exclusive rights in the Copyrighted Work, Plaintiff is entitled to

recover his actual damages resulting from Defendants’ uses of the Copyrighted Work without

paying license fees, in an amount to be proven at trial.

      48.       In addition, at Plaintiff’s election, pursuant to 17 U.S.C. § 504(b), Plaintiff shall

be entitled to recover damages based on a disgorgement of Defendants’ profits from

infringement of the Copyrighted Work, which amounts will be proven at trial.

      49.       In the alternative, and at Plaintiff’s election, Plaintiff is entitled to maximum

statutory damages, pursuant to 17 U.S.C. § 504(c), in the amount of $150,000 with respect to

the infringing reproduction, distribution, and public display of the Copyrighted Work, or such

other amounts as may be proper under 17 U.S.C. § 504(c).

      50.       Plaintiff is entitled to its costs, including reasonable attorneys’ fees, pursuant to

17 U.S.C. § 505.

      51.       Defendants’ conduct has caused and any continued infringing conduct will

continue to cause irreparable injury to Plaintiff unless enjoined by this Court. Plaintiff has no

adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent

injunction prohibiting infringement of Plaintiff’s exclusive rights under copyright law.



                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment as follows:

       1.       A declaration that Defendants have each infringed Plaintiff’s copyrights in the

Copyrighted Work under the Copyright Act;

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          2.    A declaration that such infringement is willful;

          3.    An award of such of actual damages and profits under 17 U.S.C. § 504(b) as the

Court shall deem proper or, at Plaintiff’s election, an award of statutory damages as the Court

shall deem proper, as provided in 17 U.S.C. §§ 504(c), including damages for willful

infringement of up to $150,000 for each copyright infringement of the Copyrighted Work with

respect to the unlawful conduct of Defendants.

          4.    A declaration that Defendants have violated the Digital Millennium Copyright

Act by intentionally removing copyright management information and intentionally providing

and distributing false copyright management information to conceal infringement;

          5.    Awarding Plaintiff all gains, profits, property and advantages obtained or derived

by Defendants from their acts of copyright infringement and violations of the Digital

Millennium Copyright Act or, in lieu thereof, should Plaintiff so elect, such statutory damages

as the Court shall deem proper, as provided in 1203(c)(3)(B), including damages up to $25,000

for each violation of the Digital Millennium Copyright Act;

          6.    Awarding Plaintiff such exemplary and punitive damages from Defendants

as the Court finds appropriate to deter any future willful infringement of Defendants and

others;

          7.    Awarding Plaintiff its costs and disbursements incurred in this action, including

its reasonable attorneys’ fees, as provided in 17 U.S.C. §§ 505 and 1203(b)(5);

          8.    Awarding Plaintiff interest, including pre-judgment interest, on the

foregoing sums;

          9.    Permanently enjoining Defendants, their employees, agents, officers,

directors, attorneys, successors, affiliates, subsidiaries and assigns, and all those in active

concert and participation with Defendant, from:

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                (a)     directly or indirectly infringing Plaintiff’s copyrights or continuing to

                        market, offer, sell, dispose of, license, lease, transfer, publicly display,

                        advertise, reproduce, develop or manufacture any works derived or copied

                        from the Plaintiff’s Copyrighted Work or to participate or assist in any

                        such activity; and

                (b)     directly or indirectly removing or altering any copyright management

                        information from, or providing or distributing any false copyright

                        management information in connection with, Plaintiff’s Copyrighted

                        Work.

        10.     For such other and further relief as the Court may deem just and proper.


                                          JURY DEMAND

       Plaintiff hereby demands a trial by jury pursuant to Rule 38 of the Federal Rules of Civil

Procedure.

                                                Respectfully submitted,

Dated: August 9, 2018
                                                By: /s/ Christina Dines
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                                                And




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                                              /s/ R. Terry Parker
                                              R. Terry Parker, Esquire
                                              (pro hac admission to be sought)
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